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  EXHIBIT F
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------X
RUBY FREEMAN and WANDREA’ MOSS
                                                                                No. 24-cv-6563(LJL)
                          Plaintiffs,
                                                                                No. 24-mc-353(LJL)
        -against-
                                                                          Defendants’ Amended Response to
                                                                                Plaintiffs’ First Set of
RUDOLPH W. GIULIANI                                                                Interrogatories

                           Defendant.
--------------------------------------------------------------------------X

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local

Rule 33.3 of the Southern District of New York, Defendant Rudolph W. Giuliani submit

the Amended Responses to Plaintiffs’ First Set of Interrogatories.



                         AMENDED RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 3: Identify all Documents You intend to rely on to support

your claim that You established a homestead at the Palm Beach Condo within the

meaning of article X, section 4 of the Florida Constitution.

AMENDED RESPONSE: Defendant intends to rely on documents including but not

limited to the following to support Defendant’s claim that Defendant established a

homestead at the Palm Beach Condo within the meaning of article X, section 4 of the

Florida Constitution:

                (a) Deed dated February 11, 2010 in the name of Rudolph W. Giuliani and

Judith S. Giuliani for the real property located at and known as Condominium Unit 5D,

315 S. Lake Drive, Palm Beach, Florida (Exhibit “1”);

                (b) Deed dated January 14, 2020 in the name of Rudolph W. Giuliani for
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the real property located at and known as Condominium Unit 5D, 315 S. Lake Drive,

Palm Beach, Florida (Exhibit “2”);

              (c) Exclusive Right to Sell – Cooperative Agreement between Rudolph W.

Giuliani and Sotheby’s International Realty dated July 12, 2023 (Exhibit “3”);

              (d) Invoice #416642 from Corporate Transfer & Storage Inc. dated October

16, 2024 (Exhibit “4”);

              (e) Application for Homestead and Related Tax Exemption (Exhibit “5”);

              (f) Notice of Proposed Property Taxes and Proposed or Adopted Non-Ad

Valorem Assessments (Exhibit “6”);

              (g) Real Estate Tax Bill from the Palm Beach County Tax Assessor /

Collector (Exhibit “7”);

              (h) Declaration of Domicile filed in the Office of the Palm Beach County

Clerk on July 15, 2024 (Exhibit “8”);

              (i) New York State Department of Taxation and Finance confirmation of

no Star Credit (Exhibit “9”);

              (i) New York Department of Finance confirmation of no Cooperative

Condominium Abatement (Exhibit “10”);

              (i) Florida driver’s license of Rudolph W. Giuliani dated February 22, 2024

(Exhibit “11”);

              (j) Vehicle tag for 1980 Mercedes which bore Florida tag JA3414 (Exhibit

“12”);

              (k) Voter registration in the State of Florida – voter registration number

132378699 dated May 17, 2024 (Exhibit “13”);
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             (l) Federal Income Tax Return for 2023 Redacted (Exhibit “14”);

             (m) Calendar noting Defendants’ presence inside and outside the State of

Florida in 2024 (Exhibit “15”);

              (n) Photographs (Exhibit “16”);

             (o) Bank Statements (Exhibit “17”);

             Defendant reserves the right to amend this response in the event that

Defendant becomes aware of any additional documents responsive to this interrogatory.



INTERROGATORY NO. 4: Identify any financial, medical, or legal professional or firm

whom you have consulted during the period of January 1, 2020, through the present.

AMENDED RESPONSE: Defendant objects to this interrogatory, as any medical

professional, financial professional or legal professional that Defendant consulted

with would be information that is not relevant to the claims of Plaintiffs, nor

proportional to the needs of the case for the issue in this case which is a narrow

issue: (i) whether Defendant was a permanent resident and citizen of the State of

Florida pursuant to the Constitution of the State of Florida, (ii) whether

condominium unit #5-D located at 315 S. Lake Drive, Palm Beach, Florida (the

“Condominium Unit”) was and is and on what date it was the true, fixed, and

permanent home and principal establishment of Defendant, and whether such

occurred prior to August 5, 2024, and (iii) whether the Condominium Unit was

Defendant’s the true, fixed, and permanent home and principal establishment prior

to August 5, 2024. Defendant did in fact reside in the State of Florida prior to

August 5, 2024 in the Condominium Unit as his true, fixed, and permanent home
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and principal establishment, which is the date of relevance for the claims made in

this action against Defendant. The further issue in this case is whether Defendant is

and was entitled to homestead protection in the State of Florida under the Florida

Constitution which is to be determined by Circuit Courts of the State of Florida,

and not by a Federal Court in New York. Under the required criteria for claiming a

homestead in the State of Florida, Defendant was protected by the homestead laws

in the State of Florida prior to August 5, 2024. There is no relevance to this request

for the period prior to January 1, 2024, as Defendant listed his cooperative

apartment in New York on or about July 19, 2023 when he decided that he would be

selling his cooperative apartment in New York and moving to the Florida

Condominium Unit as his true, fixed, and permanent home and principal

establishment and residence which he did prior to August 5, 2024, as Defendant had

maintained a physical presence in his Florida Condominium Unit with the intent to

remain there indefinitely.



INTERROGATORY NO. 8: Identify all email accounts, messaging accounts, and phone

numbers that You have used during the period January 1, 2023, through the present.

AMENDED RESPONSE:

       The request is objectionable due to the safety and security concerns of

Defendant. Defendant’s email address and cell phone telephone number are not

relevant to the claims of Plaintiffs in this case and would create danger to

Defendant’s personal safety and security. Disclosure could lead to threats,

harassment, or physical harm of Defendant. Defendant Rudolph Giuliani was a
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former United States Attorney for the Southern District of New York who had

obtained approximately 4,000 convictions as the United States attorney in

Manhattan from 1983 to 1989, and Mayor of the City of New York who had

received threats to his life. Defendant has been the subject of threats to his life at

various points during his career. Defendant was known for his policies on crime

reduction and prosecutions of criminal organizations. During the prosecution of

Mafia members in New York, and Defendant’s crackdown on organized crime,

Defendant’s life was threatened by organized crime figures. As an attorney who was

involved in obtaining the Hunter Biden laptop, where the laptop’s authenticity was

denied by many in the United States including President Biden. In October 2020,

during the final presidential debate, then-candidate President Biden referred to a

letter from 51 former intelligence officials suggesting that the Hunter Biden laptop

story had all the classic earmarks of a Russian information operation. President

Biden characterized the allegations stemming from the laptop as a Russian plant

and a bunch of garbage. However in June 2024, during Hunter Biden's trial on

federal gun charges, the laptop and its contents were introduced as evidence, with

FBI investigators confirming its authenticity. Defendant’s involvement regarding

the Hunter Biden laptop and investigating Hunter Biden, his associates and

attorneys involvement with Burisma Holdings, a Ukrainian natural gas company in

Ukraine, such legal work increased Defendant’s visibility and attracted hostility and

threats from supporters of President Joseph Biden and those who stated that the

laptop was Russian disinformation. Additionally, inasmuch as one of Plaintiffs’

counsel representing the Plaintiffs’ in this case was an attorney who worked with
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Hunter Biden at Boies Shiller Flexner and allegedly with Burisma Holdings, and

was Associate Counsel to former U.S. President Barack Obama, providing

Defendant’s email address and cell phone telephone number are not relevant to the

issues in this case and the claims of Plaintiffs in this case and would create danger to

Defendant’s personal safety and security.          It would be unsafe for Defendant

Rudolph Giuliani to disclose his email address and cell phone telephone number.

Protecting unnecessary disclosure of private and personal information is a concern

that runs with equal strength through the federal system. Benacquista v Spratt, 2017

US Dist LEXIS 226901, at * (N.D.N.Y. Mar. 7, 2017, No. 1:16-CV-0581 (DNH/DJS))

citing S.E.C. v. Rajaratnam, 622 F.3d 159 (2d Cir. 2010).




INTERROGATORY NO. 9: Identify in detail the efforts you undertook to preserve

relevant evidence and to collect and produce responsive materials in response to

Plaintiffs’ Requests for Production.

AMENDED RESPONSE: Defendant did not throw out any documents, Defendant

states that he has maintained whatever documents that Defendant had regarding

responsive materials in response to Plaintiffs’ Requests for Production. Defendant

states that he searched through all of his records to obtain responsive materials in

response to Plaintiffs’ Requests for Production.
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Dated: December 7, 2024
      Staten Island, New York

                                        ____________________________
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------X
RUBY FREEMAN and WANDREA’ MOSS
                                                                                No. 24-cv-6563(LJL)
                          Plaintiffs,
                                                                             Defendants’ verification of
        -against-                                                         Defendant’s response to Plaintiffs’
                                                                             First Set of Interrogatories

RUDOLPH W. GIULIANI

                           Defendant.
--------------------------------------------------------------------------X

                                              Verification

        Rudolph W. Giuliani hereby declares under penalties of perjury that the facts
stated in the foregoing Defendant’s Amended Responses to Plaintiffs’ First Set of
Interrogatories are true and correct to the best of my knowledge, information and belief.


Dated: December 7, 2024
                                                     ________________________________
                                                           Rudolph W. Giuliani
